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                         Case 23-33166 Document 1 Filed in TXSB on 08/19/23 Page 5 of 12
Debtor    United Engineers, Inc.                                                                   Case number (if knowr1)
          Name



-�equest for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of lltle 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of periury that the foregoing is true and correct.

                                 Executed on



                             x�                                                                           Kefelegne Tesfaye
                                                                                                          Printed name

                                 Title   Vice President




 18. Signature of attorney   X     /s/ Melissa A. Haselden
                                                                                                            Date August 18, 2023
                                 Signature of attorney for debtor                                                MM/DD /YYYY

                                 Melissa A. Haselden
                                 Printed name

                                 Haselden Farrow PLLC
                                 Firm name

                                 700 Milam, Suite 1300
                                 Pennzoil Place
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      {832)819-1149                Email address      mhaselden@haseldenfarrow.com


                                 00794778 TX
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy
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08/18/23
Accrual Basis                                           Balance Sheet
                                                        As of July 31, 2023
                                                                        Jul 31, 23

ASSETS
    Current Assets
         Checking/Savings
             1005 Bank of River Oaks                                       202,112.32


         Total Checking/Savings                                            202,112.32
         Accounts Receivable
             Accounts Receivable                                         1,223,388.58
         Total Accounts Receivable                                       1,223,388.58
         Other Current Assets
             2520 Refundable Deposits
                   2521 Office Lease Deposit                                  10,270.83
                   2522 Lease Deposit - N Off                                 21,725.85
             Total 2520 Refundable Deposits                                   31,996.68
         Total Other Current Assets                                           31,996.68
    Total Current Assets                                                 1,457,497.58
    Fixed Assets
         2000 Fixed Assets
             2001 Key Man Life - SM (NCV)                                     23,938.75
             2002 Key Man Life - KT (ACV)                                      6,603.90
             2010 Vehicles
                   2011 Vehicles - Office                                  123,775.77
                   2012 Vehicles - Survey                                     10,206.90
                   2013 Vehicles - CM                                         28,508.42
                   2014 Vehicles - Owners
                       2014.06 Lexus GX460                                    77,607.69
                       2014 Vehicles - Owners - Other                      118,208.15
                   Total 2014 Vehicles - Owners                            195,815.84
             Total 2010 Vehicles                                           358,306.93
             2100 Tools & Equipment                                        189,212.86
             2200 Computer Equipment                                       699,702.56
             2300 Furniture and Fixtures                                      84,428.81
             2350 Leasehold Improvements                                   139,835.98
             2400 Accumulated Depreciation
                   2401 Accum Depr - Vehicles                              201,126.94
                   2440 Accum Depr - Tools & Equip                            -17,524.72
                   2460 Accum Depr - Computers                                -64,787.47
                   2480 Acc Depr - Fixture & Furn                             -37,081.44
                   2490 Accum Depr - Leasehold Imp                        -165,905.43
                   2400 Accumulated Depreciation - Other                  -519,064.34
             Total 2400 Accumulated Depreciation                          -603,236.46
         Total 2000 Fixed Assets                                           898,793.33
    Total Fixed Assets                                                     898,793.33
TOTAL ASSETS                                                             2,356,290.91
LIABILITIES & EQUITY




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08/18/23
Accrual Basis                                             Balance Sheet
                                                          As of July 31, 2023
                                                                          Jul 31, 23

    Liabilities
         Current Liabilities
              Accounts Payable
                   3001 Accounts Payable                                     107,267.52
              Total Accounts Payable                                         107,267.52
              Other Current Liabilities
                   3000 Current Liabilities
                        Prof Liability Financing                                22,332.12
                   Total 3000 Current Liabilities                               22,332.12
                   3020 Short Term Loans
                        3021 Loan - Line of Credit                           601,500.00
                        3024 Loan - Principle - KT                              75,000.00
                        3025 Loan - Principal - SM                              75,000.00
                   Total 3020 Short Term Loans                               751,500.00
                   3040 Payroll Liabilities
                        3041 Payroll Tax
                            3041.1 Payroll Tax Withheld                         -15,211.76
                            3041.2 Payroll Tax - UEI Portio                     15,501.16
                            3041 Payroll Tax - Other                                 0.05
                        Total 3041 Payroll Tax                                     289.45
                        3043 Retirement Plan Cont
                            3043.1 401(k) Plan Contribution                          0.01
                            3043.3 Safe Harbor Contribution                          -0.50
                        Total 3043 Retirement Plan Cont                              -0.49
                        3044 Child Support Recovery                                  0.07
                        3047 Profit Sharing Payable                             28,000.00


                   Total 3040 Payroll Liabilities                               28,289.03
              Total Other Current Liabilities                                802,121.15
         Total Current Liabilities                                           909,388.67
    Total Liabilities                                                        909,388.67
    Equity
         4500 Common Stock                                                       1,000.00
         4800 Retained Earnings                                            2,283,381.35
         8010 Dividends Paid                                                -424,000.00
         Opening Balance Equity                                              337,016.49
         Prior Period Adjustments                                            205,993.52
         Shareholder Distribution                                           -890,000.00
         Net Income                                                             -66,489.12
    Total Equity                                                           1,446,902.24
TOTAL LIABILITIES & EQUITY                                                 2,356,290.91




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08/18/23
Accrual Basis                                              Profit & Loss
                                                       January through July 2023
                                                                  Jan - Jul 23

    Ordinary Income/Expense
            Income
                 5001 Professional Fees                              4,078,293.07
                 5020 Fees - Reimb Consultants                           1,212.39
            Total Income                                             4,079,505.46
        Gross Profit                                                 4,079,505.46
            Expense
                 6001 Direct - Labor                                 2,332,902.21
                 6100 Direct - Reimbursable Exp
                       6101 Subconsultant - Reimb Exp                  222,549.25
                       6104 Research/Repro - Reimb Exp                     379.95
                       6115 Travel - Reimb Exp                             169.13
                 Total 6100 Direct - Reimbursable Exp                  223,098.33
                 6101 - Indirect OH Labor
                       6102 - Overhead - Employees                     143,621.49
                       6103 - Employees - Bonuses                      392,127.52
                 Total 6101 - Indirect OH Labor                        535,749.01
                 7010 Personnel Expenses
                       7011 Fringe Benefits - Officers                   9,750.00
                       7014 Company Paid Ins Benefits                  179,576.69
                       7015 Company Paid Retirement                     50,724.98
                       7016 Employee Relations                           9,118.42
                       7017 Recruiting & Hiring                          2,188.49
                       7018 Employee Wellness                              849.30
                       7010 Personnel Expenses - Other                   7,375.71
                 Total 7010 Personnel Expenses                         259,583.59
                 7023 Charitable Contributions                           9,000.00
                 7024 Civic Contributions                                2,000.00
                 7025 Computer Expenses                                 14,961.46
                 7050 Dues & Subscriptions                              14,119.51
                 7053 Software Licensing                                 9,206.63
                 7055 Equipment Lease/Rent                              15,592.23
                 7060 Equip Maint/Repairs                                2,501.31
                 7070 Insurance
                       7072 Insurance - Liabilty                        51,178.92
                       7073 Insurance - Property                        20,389.76
                       7074 Insurance - Worker's Comp                    1,252.08
                 Total 7070 Insurance                                   72,820.76
                 7080 Interest Expense                                  39,308.81
                 7085 Office Rent/Lease                                225,645.18
                 7090 Postage/Delivery                                     259.06
                 7095 Printing/Copying                                     556.77
                 7100 Professional Fees
                       7101.2 Prof Fees - Legal/Acct                    70,353.42
                       7101.4 Prof Fees - Lobbying                       1,185.00




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08/18/23
Accrual Basis                                             Profit & Loss
                                                      January through July 2023
                                                                 Jan - Jul 23

                 Total 7100 Professional Fees                          71,538.42
                 7103 State Prof License Fees                              80.00
                 7110 Supplies Expense                                  9,148.91
                 7120 Tax Expense
                       7122 Taxes - Payroll                           204,937.51
                       7124 Taxes - State Franchise                    36,967.00
                 Total 7120 Tax Expense                               241,904.51
                 7130 Telephone Expenses                               30,796.48
                 7140 Training & Education                              3,038.06
                 7150 Travel & Entertainment
                       7151.1 Food/Entertainment 100%                     267.42
                       7151.3 Food/Entertainment 0%                        13.38
                       7152 Mileage Reimbursement                       6,511.11
                       7153 Tolls & Parking                             2,052.40
                 Total 7150 Travel & Entertainment                      8,844.31
                 7160 Vehicle Expense                                  21,899.71
                 Reconciliation Discrepancies                              93.38
                 Uncategorized Expenses                                 3,740.91
             Total Expense                                          4,148,389.55
    Net Ordinary Income                                               -68,884.09
    Other Income/Expense
        Other Income
             Interest Earned                                               69.52
        Total Other Income                                                 69.52
        Other Expense
             Gain/Loss Fixed Asset Sold                                 -2,325.45
        Total Other Expense                                             -2,325.45
    Net Other Income                                                    2,394.97
Net Income                                                            -66,489.12




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                                                                         United Engineers, Inc.
08/18/23
                                                                   Statement of Cash Flows
                                                                        January through July 2023




                                                                                                                      Jan - Jul 23
                   OPERATING ACTIVITIES
                       Net Income                                                                                         -67,644.45
                       Adjustments to reconcile Net Income
                       to net cash provided by operations:
                           Accounts Receivable                                                                             68,698.35
                           3001 Accounts Payable                                                                          -93,442.85
                           3040 Payroll Liabilities:3041 Payroll Tax:3041.2 Payroll Tax - UEI Portio                        2,847.27
                           3040 Payroll Liabilities:3043 Retirement Plan Cont:3043.1 401(k) Plan Contribution                   0.01
                           3040 Payroll Liabilities:3043 Retirement Plan Cont:3043.3 Safe Harbor Contribution                   -0.50
                           3040 Payroll Liabilities:3044 Child Support Recovery                                                 0.08
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.1 Health Ins Deduct (EE)           7,663.10
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.1C Health Ins Premium (ER)        18,023.60
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.2 Dental Ins Deduct (EE)           1,338.44
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.2C Dental Ins Premium (ER)           452.32
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.3 Disability Deduct (EE)             593.28
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.3C Disability Premium (ER)           485.08
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.4 Life Ins Deduct (EE)             1,373.40
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.5C Base Life Ins (ER)                167.00
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.6C Vision Ins Premium (ER)           303.60
                           3040 Payroll Liabilities:3048 Employee Insurance Premium:3048.7 Gym Prem Deduct (EE)                73.84
                   Net cash spent by Operating Activities                                                                 -59,068.43


                           3020 Short Term Loans:3021 Loan - Line of Credit                                              -246,000.00
                           3020 Short Term Loans:3024 Loan - Principle - KT                                                75,000.00
                           3020 Short Term Loans:3025 Loan - Principal - SM                                                75,000.00
                   Net cash spent by Financing Activities                                                                 -96,000.00


               Net cash decrease for period                                                                              -155,068.43
              Cash at beginning of period                                                                                 472,978.07
           Cash at end of period                                                                                          317,909.64




                                                                                                                                        Page 1 of 1
